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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

MARK RENFRO et al.,                                     )
                                            Plaintiffs, )     CIVIL ACTION
v.                                                      )
                                                        )     No. 07-2098
UNISYS CORPORATION et al.,                              )
                                           Defendants. )

                              PLAINTIFFS’ NOTICE OF APPEAL

      Plaintiffs Mark Renfro and Gerald Lustig appeal to the United States Circuit Court for the

Third Circuit from the District Court’s final judgment in the Order dated April 26, 2010 [Doc.

111] and Memorandum dated April 26, 2010 [Doc. 110].


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                                  CERTIFICATE OF SERVICE

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